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Attorneys for Defendants and Counterclaimants


                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 SECURITY AMERICA RISK RETENTION
 GROUP, INC., a Vermont corporation,
                                                  ANSWER AND AFFIRMATIVE
        Plaintiff/Counterclaim Defendant,        DEFENSES TO THIRD AMENDED
                                                COMPLAINT FOR DECLARATORY
 v.                                              RELIEF, COUNTERCLAIM, AND
                                                        JURY DEMAND
 ALDER HOLDINGS, LLC, a Utah limited
 liability company; ALARM PROTECTION
 TECHNOLOGY, LLC, a domestic limited
 liability company; ALARM PROTECTION                  (Jury Trial Demanded)
 TECHNOLOGY ALASKA, LLC, a domestic
 limited liability company; ALARM                Case No. 2:17-cv-00886-HCN-DAO
 PROTECTION ALASKA, LLC, a Utah
 limited liability company; ALARM                   Judge: Howard C. Nielson, Jr
 PROTECTION, LLC, a Utah Limited Liability
 Company; ALARM PROTECTION                       Magistrate Judge: Daphne A. Oberg
 ALABAMA, a Utah Limited Liability
 Company; ALARM PROTECTION
 ARKANSAS, LLC, a Utah limited liability
 company; ALARM PROTECTION
 CALIFORNIA, LLC, a Utah limited liability
 Company; ALARM PROTECTION
 FLORIDA, LLC, a Utah limited liability
 company; ALARM PROTECTION
 KENTUCKY, LLC, a Utah limited liability
 company; ALARM PROTECTION
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MISSISSIPPI, LLC, a Utah limited liability
company; ALARM PROTECTION
TENNESSEE, LLC, a Utah limited liability
company; ALARM PROTECTION TEXAS,
LLC, a Utah limited liability company;
ALARM PROTECTION UTAH, LLC, a Utah
limited liability company; ADAM SCHANZ,
an individual; and DOES I- X

      Defendants/Counterclaimants.
______________________________________

ALDER HOLDINGS, LLC, a Utah limited
liability company; ALARM PROTECTION
TECHNOLOGY, LLC, a Utah limited liability
company; ALARM PROTECTION
TECHNOLOGY ALASKA, LLC, a Utah
limited liability company; ALARM
PROTECTION ALASKA, LLC, a Utah
limited liability company; ALARM
PROTECTION, LLC, a Utah limited liability
company; ALDER PROTECTION
HOLDINGS, LLC, a Delaware limited liability
company; BOERBOEL PROTECTION, LLC,
a Utah limited liability company; ALARM
PROTECTION TECHNOLOGY HOLDINGS,
LLC, a Utah limited liability company;
ALARM PROTECTION ALABAMA, LLC, a
Utah limited liability company; ALARM
PROTECTION TECHNOLOGY ALABAMA,
LLC, a Utah limited liability company;
ALARM PROTECTION ARIZONA, LLC, a
Utah limited liability company; ALARM
PROTECTION TECHNOLOGY ARIZONA,
LLC, a Utah limited liability company;
ALARM PROTECTION ARKANSAS, LLC,
a Utah limited liability company; ALARM
PROTECTION TECHNOLOGY
ARKANSAS, LLC, a Utah limited liability
company; ALARM PROTECTION
CALIFORNIA, LLC, a Utah limited liability
company; ALARM PROTECTION
TECHNOLOGY CALIFORNIA, LLC, a Utah
limited liability company; ALARM



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PROTECTION FLORIDA, LLC, a Utah
limited liability company; ALARM
PROTECTION TECHNOLOGY FLORIDA,
LLC, a Utah limited liability company;
ALARM PROTECTION GEORGIA, LLC, a
Utah limited liability company; ALARM
PROTECTION TECHNOLOGY GEORGIA,
LLC, a Utah limited liability company;
ALARM PROTECTION IDAHO, LLC, a
Utah limited liability company; ALARM
PROTECTION INDIANA, LLC, a Utah
limited liability company; ALARM
PROTECTION KENTUCKY, LLC, a Utah
limited liability company; ALARM
PROTECTION TECHNOLOGY
KENTUCKY, LLC, a Utah limited liability
company; ALARM PROTECTION
MISSISSIPPI, LLC, a Utah limited liability
company; ALARM PROTECTION
TECHNOLOGY MISSISSIPPI, LLC, a Utah
limited liability company; ALARM
PROTECTION NEVADA, LLC, a Utah
limited liability company; ALARM
PROTECTION OKLAHOMA, LLC, a Utah
limited liability company; ALARM
PROTECTION TENNESSEE, LLC, a Utah
limited liability company; ALARM
PROTECTION TECHNOLOGY
TENNESSEE, LLC, a Utah limited liability
company; ALARM PROTECTION TEXAS,
LLC, a Utah limited liability company;
ALARM PROTECTION TECHNOLOGY
TEXAS, LLC, a Utah limited liability
company; ALARM PROTECTION UTAH,
LLC, a Utah limited liability company;
RHODESIAN PROTECTION, LLC, a Utah
limited liability company; and ADAM
SCHANZ, an individual,

      Counterclaimants

v.




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 SECURITY AMERICA RISK RETENTION
 GROUP, INC., a Vermont corporation;
 SECURITY AMERICA RISK PURCHASING
 GROUP, LLC, a Vermont limited liability
 company; SECURITY AMERICA
 REASSURANCE GROUP, INC., a Vermont
 corporation; and ROES 1–10,

         Counterclaim Defendants.


       Defendants Alder Holdings, LLC, Alarm Protection Technology, LLC, Alarm Protection

Technology Alaska, LLC, Alarm Protection Alaska, LLC, Alarm Protection, LLC, Alarm

Protection Alabama, LLC, Alarm Protection Arkansas, LLC, Alarm Protection California, LLC,

Alarm Protection Florida, LLC, Alarm Protection Kentucky, LLC, Alarm Protection Mississippi,

LLC, Alarm Protection Tennessee, LLC, Alarm Protection Texas, LLC, Alarm Protection Utah,

LLC, and Adam Schanz (collectively “Defendants”), by and through their undersigned counsel,

hereby submit the following Answer and Affirmative Defenses to Plaintiff Security American

Risk Retention Group, Inc.’s (the “Plaintiff”) First Amended Complaint for Declaratory Relief

(the “Complaint”) and Counterclaim against Plaintiff and Counterclaim Defendants Security

America Risk Purchasing Group, LLC, Security America Reassurance Group, Inc., and Roes 1–

10 (collectively “Counterclaim Defendants”). Defendants hereby provide the following answers

to the allegations of the Complaint:

                          PARTIES, JURISDICTION, AND VENUE

       1.      Answering paragraph 1 of the Complaint, Defendants lack sufficient knowledge

or information to admit or deny the allegations of paragraph 1 and, therefore, deny those

allegations.




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       2.        Defendants admit that Alder Holdings, LLC is a Utah limited liability company

with its principal place of business in Orem, Utah, that it provides services in Salt Lake County,

and that all of its members are either domiciled in and citizens of Utah or are corporate entities

organized under the laws of the State of Utah with their principal places of business in Utah.

Except as expressly admitted, Defendants deny the remaining allegations of paragraph 2 of the

Complaint.

       3.        Defendants admit that Alarm Protection Technology, LLC is a Utah limited

liability company with its principal place of business in Orem, Utah, that it provides services in

Salt Lake County, that all of its members are either domiciled in and citizens of Utah or are

corporate entities organized under the laws of the State of Utah with their principal places of

business in Utah. Except as expressly admitted, Defendants deny the remaining allegations of

paragraph 3 of the Complaint.

       4.        Defendants admit that Alarm Protection Technology Alaska, LLC is a Utah

limited liability company and that all of its members are either domiciled in and citizens of Utah

or are corporate entities organized under the laws of the State of Utah with their principal places

of business in Utah. Except as expressly admitted, Defendants deny the remaining allegations of

paragraph 4 of the Complaint.

       5.        Defendants admit that Alarm Protection Alaska, LLC is a Utah limited liability

company and that all of its members are either domiciled in and citizens of Utah or are corporate

entities organized under the laws of the State of Utah with their principal places of business in

Utah. Except as expressly admitted, Defendants deny the remaining allegations of paragraph 5 of

the Complaint.




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       6.        Defendants admit that Alarm Protection, LLC is a Utah limited liability company

and that all of its members are either domiciled in and citizens of Utah or are corporate entities

organized under the laws of the State of Utah with their principal places of business in Utah.

Except as expressly admitted, Defendants deny the remaining allegations of paragraph 6 of the

Complaint.

       7.        Defendants admit that Alarm Protection Alabama, LLC is a Utah limited liability

company and that all of its members are either domiciled in and citizens of Utah or are corporate

entities organized under the laws of the State of Utah with their principal places of business in

Utah. Except as expressly admitted, Defendants deny the remaining allegations of paragraph 7 of

the Complaint.

       8.        Defendants admit that Alarm Protection Arkansas, LLC is a Utah limited liability

company and that all of its members are either domiciled in and citizens of Utah or are corporate

entities organized under the laws of the State of Utah with their principal places of business in

Utah. Except as expressly admitted, Defendants deny the remaining allegations of paragraph 8 of

the Complaint.

       9.        Defendants admit that Alarm Protection California, LLC is a Utah limited liability

company and that all of its members are either domiciled in and citizens of Utah or are corporate

entities organized under the laws of the State of Utah with their principal places of business in

Utah. Except as expressly admitted, Defendants deny the remaining allegations of paragraph 9 of

the Complaint.

       10.       Defendants admit that Alarm Protection Florida, LLC is a Utah limited liability

company and that all of its members are either domiciled in and citizens of Utah or are corporate




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entities organized under the laws of the State of Utah with their principal places of business in

Utah. Except as expressly admitted, Defendants deny the remaining allegations of paragraph 10

of the Complaint.

       11.     Defendants admit that Alarm Protection Kentucky, LLC is a Utah limited liability

company and that all of its members are either domiciled in and citizens of Utah or are corporate

entities organized under the laws of the State of Utah with their principal places of business in

Utah. Except as expressly admitted, Defendants deny the remaining allegations of paragraph 11

of the Complaint.

       12.     Defendants admit that Alarm Protection Mississippi, LLC is a Utah limited

liability company and that all of its members are either domiciled in and citizens of Utah or are

corporate entities organized under the laws of the State of Utah with their principal places of

business in Utah. Except as expressly admitted, Defendants deny the remaining allegations of

paragraph 12 of the Complaint.

       13.     Defendants admit that Alarm Protection Tennessee, LLC is a Utah limited

liability company and that all of its members are either domiciled in and citizens of Utah or are

corporate entities organized under the laws of the State of Utah with their principal places of

business in Utah. Except as expressly admitted, Defendants deny the remaining allegations of

paragraph 13 of the Complaint.

       14.     Defendants admit that Alarm Protection Texas, LLC is a Utah limited liability

company and that all of its members are either domiciled in and citizens of Utah or are corporate

entities organized under the laws of the State of Utah with their principal places of business in




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Utah. Except as expressly admitted, Defendants deny the remaining allegations of paragraph 14

of the Complaint.

       15.       Defendants admit that Alarm Protection Utah, LLC is a Utah limited liability

company and that all of its members are either domiciled in and citizens of Utah or are corporate

entities organized under the laws of the State of Utah with their principal places of business in

Utah. Except as expressly admitted, Defendants deny the remaining allegations of paragraph 15

of the Complaint.

       16.       Defendants admit that Adam Schanz resides in Utah County and that he is

domiciled in, and a citizen of, the State of Utah. Except as expressly admitted, Defendants deny

the remaining allegations of paragraph 16 of the Complaint.

       17.       Paragraph 17 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, Defendants admit only that the entity Defendants

are affiliated. Except as expressly admitted, Defendants deny the remaining allegations of

paragraph 17 of the Complaint.

       18.       Answering paragraph 18 of the Complaint, Alder Holdings, LLC and Alarm

Protection Technology, LLC admit that they transact business in Salt Lake County, Utah. Except

as expressly admitted, Defendants deny the remaining allegations contained in paragraph 18 of

the Complaint.

       19.       Paragraph 19 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, Defendants admit that this Court has jurisdiction

pursuant to 28 U.S.C. § 2201.




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        20.     Paragraph 20 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, Defendants admit the allegations in paragraph 20

of the Complaint.

        21.     Paragraph 21 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, Defendants admit that venue is appropriate in this

jurisdiction because the entity Defendants are Utah limited liability companies. Except as

expressly admitted, Defendants deny the remaining allegations contained in paragraph 21 of the

Complaint.

                                 GENERAL ALLEGATIONS

        22.     Defendants restate their answers to the preceding paragraphs of the Complaint as

if fully set forth herein.

        23.     Admitted.

        24.     Answering paragraph 24 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms.

        25.     Answering paragraph 25 of the Complaint, Defendants admit that other insurance

policies were issued with coverages dates through 2015 and that the terms of those insurance

policies speak for themselves, and Defendants deny any and all allegations inconsistent with

such terms.

        26.     Answering paragraph 26 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms.




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       27.     Answering paragraph 27 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms. Answering further, Defendants admit that the Insurance

Policies contain the language quoted in paragraph 27 of the Complaint.

       28.     Answering paragraph 28 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms. Answering further, Defendants admit that the Insurance

Policies contain the language quoted in paragraph 28 of the Complaint.

       29.     Answering paragraph 29 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms. Answering further, Defendants admit that the Insurance

Policies contain the language quoted in paragraph 29 of the Complaint.

       30.     Answering paragraph 30 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms. Answering further, Defendants admit that the Insurance

Policies contain the Sections II, III, and IV identified in paragraph 30 of the Complaint and that

those sections speak for themselves.

       31.     Answering paragraph 31 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms. Answering further, Defendants admit that the Insurance

Policies contain an amendatory endorsement as alleged in paragraph 31 of the Complaint, which

endorsement speaks for itself.




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       32.     Answering paragraph 32 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms. Answering further, Defendants admit that the Insurance

Policies contain the language quoted in paragraph 32 of the Complaint.

       33.     Answering paragraph 33 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms. Answering further, Defendants admit that the Insurance

Policies contain the language quoted in paragraph 33 of the Complaint.

       34.     Defendants are currently without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in paragraph 34 of the Complaint and therefore

deny the allegations contained in paragraph 34 of the Complaint.

       35.     Answering paragraph 35 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms. Answering further, Defendants admit that the Insurance

Policies contain the language quoted in paragraph 35 of the Complaint.

       36.     Answering paragraph 36 of the Complaint, Defendants affirmatively allege that

the terms of the Insurance Policies speak for themselves, and Defendants deny any and all

allegations inconsistent with such terms. Answering further, Defendants admit that the Insurance

Policies contain an amendatory endorsement as alleged in paragraph 36 of the Complaint, which

endorsement speaks for itself.

       37.     Answering paragraph 37 of the Complaint, Defendants admit only that Vivint,

Inc. (“Vivint”) filed a lawsuit against certain Defendants in the Fourth Judicial District Court of




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Utah County, State of Utah that was later removed to the United States District Court for the

District of Utah. Except as expressly admitted, Defendants deny all remaining allegations

contained in paragraph 37 of the Complaint.

       38.     Answering paragraph 38 of the Complaint, Defendants admit only that Vivint

filed a complaint in the Vivint Litigation, which complaint Vivint amended more than once.

Defendants affirmatively allege that Vivint’s complaint, as amended, speaks for itself, and

Defendants deny any and all allegations inconsistent therewith. Except as expressly admitted,

Defendants deny all remaining allegations contained in paragraph 38 of the Complaint.

       39.     Answering paragraph 39 of the Complaint, Defendants admit only that Vivint

filed a complaint in the Vivint Litigation, which complaint Vivint amended more than once.

Defendants affirmatively allege that Vivint’s complaint, as amended, speaks for itself, and

Defendants deny any and all allegations inconsistent therewith. Except as expressly admitted,

Defendants deny all remaining allegations contained in paragraph 39 of the Complaint.

       40.     Answering paragraph 40 of the Complaint, Defendants admit only that Vivint

filed a complaint in the Vivint Litigation, which complaint Vivint amended more than once.

Defendants affirmatively allege that Vivint’s complaint, as amended, speaks for itself, and

Defendants deny any and all allegations inconsistent therewith. Except as expressly admitted,

Defendants deny all remaining allegations contained in paragraph 40 of the Complaint.

       41.     Answering paragraph 41 of the Complaint, Defendants admit only that Vivint

filed a complaint in the Vivint Litigation, which complaint Vivint amended more than once.

Defendants affirmatively allege that Vivint’s complaint, as amended, speaks for itself, and




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Defendants deny any and all allegations inconsistent therewith. Except as expressly admitted,

Defendants deny all remaining allegations contained in paragraph 41 of the Complaint.

       42.     Answering paragraph 42 of the Complaint, Defendants admit only that Vivint

filed a complaint in the Vivint Litigation, which complaint Vivint amended more than once.

Defendants affirmatively allege that Vivint’s complaint, as amended, speaks for itself, and

Defendants deny any and all allegations inconsistent therewith. Except as expressly admitted,

Defendants deny all remaining allegations contained in paragraph 42 of the Complaint.

       43.     Answering paragraph 43 of the Complaint, Defendants admit only that Vivint

filed a complaint in the Vivint Litigation, which complaint Vivint amended more than once.

Defendants affirmatively allege that Vivint’s complaint, as amended, speaks for itself, and

Defendants deny any and all allegations inconsistent therewith. Except as expressly admitted,

Defendants deny all remaining allegations contained in paragraph 43 of the Complaint.

       44.     Answering paragraph 44 of the Complaint, Defendants admit only that Vivint

filed a complaint in the Vivint Litigation, which complaint Vivint amended more than once.

Defendants affirmatively allege that Vivint’s complaint, as amended, speaks for itself, and

Defendants deny any and all allegations inconsistent therewith. Except as expressly admitted,

Defendants deny all remaining allegations contained in paragraph 44 of the Complaint.

       45.     Answering paragraph 45 of the Complaint, Defendants admit only that Plaintiff

has paid some, but not all, of the defense fees and costs incurred by the Defendants in the Vivint

Litigation and that Plaintiff’s defense was provided under a reservation of rights. Except as

expressly admitted, Defendants deny all remaining allegations contained in paragraph 45 of the

Complaint.




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       46.     Answering paragraph 46 of the Complaint, Defendants admit only that a

settlement was reached in the Vivint Litigation and that Plaintiff refused to pay any funds toward

the settlement. Except as expressly admitted, Defendants deny all remaining allegations

contained in paragraph 46 of the Complaint.

       47.     Admitted.

       48.     Answering paragraph 48 of the Complaint, Defendants affirmatively allege that

the amended complaint in the SAFE Litigation speaks for itself, and Defendants deny any and all

allegations inconsistent with such terms. Except as expressly admitted, Defendants deny all

remaining allegations contained in paragraph 48 of the Complaint.

       49.     Admitted.

       50.     Answering paragraph 50 of the Complaint, Defendants affirmatively allege that

the amended complaint in the SAFE Litigation speaks for itself, and Defendants deny any and all

allegations inconsistent with such terms. Except as expressly admitted, Defendants deny all

remaining allegations contained in paragraph 50 of the Complaint.

       51.     Answering paragraph 51 of the Complaint, Defendants affirmatively allege that

the amended complaint in the SAFE Litigation speaks for itself, and Defendants deny any and all

allegations inconsistent with such terms. Except as expressly admitted, Defendants deny all

remaining allegations contained in paragraph 51 of the Complaint.

       52.     Answering paragraph 52 of the Complaint, Defendants affirmatively allege that

the amended complaint in the SAFE Litigation speaks for itself, and Defendants deny any and all

allegations inconsistent with such terms. Except as expressly admitted, Defendants deny all

remaining allegations contained in paragraph 52 of the Complaint.




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       53.     Admitted.

       54.     Answering paragraph 54 of the Complaint, Defendants affirmatively allege that

the jury’s verdict form speaks for itself, and Defendants deny any and all allegations inconsistent

with such terms.

       55.     Answering paragraph 55 of the Complaint, Defendants affirmatively allege that

the jury’s verdict form speaks for itself, and Defendants deny any and all allegations inconsistent

with such terms.

       56.     Answering paragraph 56 of the Complaint, Defendants affirmatively allege that

the jury’s verdict form speaks for itself, and Defendants deny any and all allegations inconsistent

with such terms.

       57.     Answering paragraph 57 of the Complaint, Defendants affirmatively allege that

the jury’s verdict form speaks for itself, and Defendants deny any and all allegations inconsistent

with such terms.

       58.     Answering paragraph 58 of the Complaint, Defendants affirmatively allege that

the jury’s verdict form speaks for itself, and Defendants deny any and all allegations inconsistent

with such terms.

       59.     Answering paragraph 59 of the Complaint, Defendants affirmatively allege that

the jury’s verdict form speaks for itself, and Defendants deny any and all allegations inconsistent

with such terms.

       60.     Answering paragraph 60 of the Complaint, Defendants affirmatively allege that

the jury’s verdict form speaks for itself, and Defendants deny any and all allegations inconsistent

with such terms.




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       61.     Admitted.

       62.     Answering paragraph 62 of the Complaint, Defendants admit only that Plaintiff

has paid some, but not all, of the defense fees and costs incurred by certain of the Defendants in

the SAFE Litigation, and that Plaintiff’s defense was provided under a reservation of rights.

       63.     Denied.

                  CLAIM FOR RELIEF (DECLARATORY JUDGMENT)

       64.     Defendants repeat and incorporate by reference its answers to the preceding

paragraphs of the Complaint as if fully set forth herein.

       65.     Admitted.

       66.     Paragraph 66 of the Complaint contains only legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the allegations.

       67.     Paragraph 67 of the Complaint contains only legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the allegations.

       68.     Paragraph 68 of the Complaint contains only legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the allegations.

       69.     Paragraph 69 of the Complaint contains only legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the allegations.

       70.     Paragraph 70 of the Complaint contains only legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the allegations.

       71.     Paragraph 71 of the Complaint contains only legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the allegations.




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                             RESPONSE TO PRAYER FOR RELIEF

         Defendants deny that Plaintiff is entitled to any relief, including any relief sought in the

Complaint, and instead requests that the Court dismiss Plaintiff’s claims on the merits and with

prejudice.

                                    AFFIRMATIVE DEFENSES

         Defendants assert the following affirmative defenses without assuming the burden of

proof.

                                          FIRST DEFENSE

         Plaintiff’s claims are barred, in whole or in part, because the Complaint fails to state a

claim against Defendants upon which relief may be granted.

                                        SECOND DEFENSE

         Plaintiff’s claims are barred, in whole or in part, because Plaintiff’s prior material

breaches of the Insurance Policies or other agreements between the parties.

                                         THIRD DEFENSE

         Plaintiff’s claims are barred, in whole or in part, by the doctrines of unclean hands,

wavier, estoppel, laches, and/or other inequitable conduct.

                                        FOURTH DEFENSE

         Plaintiff’s claims are barred, in whole or in part, because of the Plaintiff’s breaches of its

fiduciary duties to Defendants and/or its breaches of its covenants of good faith and fair dealing.

                                          FIFTH DEFENSE

         Plaintiff’s claims are barred, in whole or in part, based on settlement, release, and/or

accord and satisfaction.




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                                        SIXTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, because Plaintiff failed to mitigate its

damages, if any.

                                      SEVENTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, because Plaintiff has failed to join one or

more necessary and indispensable parties.

                                       EIGHTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, by the applicable statutes of limitations.

                                         RESERVATION

       Defendants reserves the right to assert any other affirmative defenses and/or claims that

may come to light during the course of discovery.

                                             PRAYER

       WHEREFORE, Defendants respectfully request that the Plaintiff’s Complaint be

dismissed with prejudice and upon the merits, that Defendants be awarded their costs and

attorneys’ fees incurred in defending this action as provided for by contract or law, and for such

other and further relief as the Court may deem necessary, just and equitable under the

circumstances.

                                       COUNTERCLAIM

       Counterclaimants Alder Holdings, LLC, Alarm Protection Technology, LLC, Alarm

Protection Technology Alaska, LLC, Alarm Protection Alaska, LLC, Alarm Protection, LLC,

Alder Protection Holdings, LLC, Boerboel Protection, LLC, Alarm Protection Technology

Holdings, LLC, Alarm Protection Alabama, LLC, Alarm Protection Technology Alabama, LLC,




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Alarm Protection Arizona, LLC, Alarm Protection Technology Arizona, LLC, Alarm Protection

Arkansas, LLC, Alarm Protection Technology Arkansas, LLC, Alarm Protection California,

LLC, Alarm Protection Technology California, LLC, Alarm Protection Florida, LLC, Alarm

Protection Technology Florida, LLC, Alarm Protection Georgia, LLC, Alarm Protection

Technology Georgia, LLC, Alarm Protection Idaho, LLC, Alarm Protection Indiana, LLC,

Alarm Protection Kentucky, LLC, Alarm Protection Technology Kentucky, LLC, Alarm

Protection Mississippi, LLC, Alarm Protection Technology Mississippi, LLC, Alarm Protection

Nevada, LLC, Alarm Protection Oklahoma, LLC, Alarm Protection Tennessee, LLC, Alarm

Protection Technology Tennessee, LLC, Alarm Protection Texas, LLC, Alarm Protection

Technology Texas, LLC, Alarm Protection Utah, LLC, Rhodesian Protection, LLC, and Adam

Schanz (collectively “Counterclaimants”) hereby counterclaim against Counterclaim Defendants

Security America Risk Retention Group, Inc., Security America Risk Purchasing Group, LLC,

Security America Reassurance Group, Inc., and Roes 1–10 (collectively, the “Counterclaim

Defendants”).

       Counterclaimants incorporate by this reference the Amended Counterclaim previously

filed with the Court in the Amended Answer and Counterclaim dated October 18, 2018, ECF No.

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                                DEMAND FOR JURY TRIAL

       In accordance with Rule 38(b) of the Federal Rules of Civil Procedure, Defendants and

Counterclaimants hereby demand a trial by jury of all issues triable of right by a jury. Defendants

and Counterclaimants previously submitted the required jury fee.

       DATED this 10th day of November 2020.

                                             MITCHELL BARLOW & MANSFIELD, P.C.

                                             /s/ Andrew V. Collins
                                             J. Ryan Mitchell
                                             Andrew V. Collins
                                             Attorneys for Defendants and Counterclaimants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of November 2018, I caused a true and correct copy

of the foregoing ANSWER AND AFFIRMATIVE DEFENSES TO THIRD AMENDED

COMPLAINT FOR DECLARATORY RELIEF, COUNTERCLAIM, AND JURY

DEMAND to be filed via the Court’s electronic filing system, which provides notice of the filing

and effectuates service upon counsel of record.



                                             /s/ Andrew V. Collins




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